Case 2:03-CV-02561-.]DB-STA Document 144 Filed 06/30/05 Page 10f3 Page|D 132
F|LED IN OPEN COURT

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IN THE UNITED STATES DISTRICT COURT DATE` d z 06-
FOR THE WESTERN DISTRICT OF TENNESSEE TlME: 4 . 22 EM
WESTERN DIVISION

lNlT|ALS: Q_b__

NACCO MATERIALS HANDLING
GROUP, INC., d/b/a YALE MATERIALS
HANDLING CORPORATION,
Plaintiff,
v. No. 03-2561- B A

TOYOTA MATERIALS HANDLING
USA, INC., and THE LILLY COMPANY,

Defendants.

 

ORDER

 

On June l, 2005, a hearing was held on the Application for Preliminary Injunction filed
by Defendant The Lilly Conipany’s (“Lilly”) seeking to enjoin Plaintiff NACCO Materials
Handling Corporation (“NMHG”) from non-renewing its Dealer Marketing Agreements. This
matter is set for trial August 15, 2005.

Given the volume of evidence introduced, most of which is by deposition testimony, the
Court must take this matter under advisement The Status quo shall be maintained as to all
matters between the parties pursuant to the contract between the parties as it existed prior to July
2, 2005, the Court’s Order of November 23, 2004 and otherwise, pending the Court’s ruling on
the matters presented at the June l, 2005 hearing.

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1115 so oRDEREDthis 30 day e,2005.

 

J NIEL BREEN
ED STATES DISTRICT UDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 144 in
case 2:03-CV-02561 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

